      Case 3:21-cr-00085-SCC Document 557 Filed 02/11/22 Page 1 of 16
                                                          U.S. v. (3] Joseph Marte-Rodriguez. 21-085 (SCC)


                                                                                              Date:
                                                                                              2/11/2022
                  IN THE UNITED STATES DISTRICT COURT                                         By: Reina Alvarez
                    FOR THE DISTRICT OF PUERTO RICO                                           Courtroom Deputy

  UNITED STATES OF AMERICA,                          CRIMINAL NO. 21-085 (SCC)
  Plaintiff,

                          V.

  [3] JOSEPH MARTE-RODRIGUEZ,
  Defendant.


                    PLEA AND FORFEITURE AGREEMENT

TO THE HONORABLE COURT:

      The United States of America, Defendant, Joseph Marte-Rodriguez, and

Defendant's counsel, Jose R. Aguayo, Esq., pursuant to Federal Rule of Criminal

Procedure 11, state that they have reached a Plea Agreement, the terms and

conditions of which are as follows:

   1. Charges to which Defendant will Plead Guilty

      Defendant agrees to plead guilty to Count One of the Indictment:

       Count One: From at least in or about August, 2015 and continuing up to and

until the return of the instant Indictment, in the Municipalities of San Juan, Carolina

and Trujillo Alto, District of Puerto Rico and within the jurisdiction of this Court,

the defendant, did knowingly and intentionally, combine, conspire, and agree with

each other and with diverse other persons known and unknown to the Grand Jury,

to commit a1;1 offense against the United States, that is, to knowingly and

intentionally possess with intent to distribute and/ or to distribute controlled

substances, to wit: in excess of two hundred and eighty (280) grams of a mixture or
USAO-DPR-Plea Agreement                                                                         Page I 1
Case 3:21-cr-00085-SCC Document 557 Filed 02/11/22 Page 2 of 16
Case 3:21-cr-00085-SCC Document 557 Filed 02/11/22 Page 3 of 16
Case 3:21-cr-00085-SCC Document 557 Filed 02/11/22 Page 4 of 16
Case 3:21-cr-00085-SCC Document 557 Filed 02/11/22 Page 5 of 16
Case 3:21-cr-00085-SCC Document 557 Filed 02/11/22 Page 6 of 16
Case 3:21-cr-00085-SCC Document 557 Filed 02/11/22 Page 7 of 16
Case 3:21-cr-00085-SCC Document 557 Filed 02/11/22 Page 8 of 16
Case 3:21-cr-00085-SCC Document 557 Filed 02/11/22 Page 9 of 16
Case 3:21-cr-00085-SCC Document 557 Filed 02/11/22 Page 10 of 16
Case 3:21-cr-00085-SCC Document 557 Filed 02/11/22 Page 11 of 16
Case 3:21-cr-00085-SCC Document 557 Filed 02/11/22 Page 12 of 16
Case 3:21-cr-00085-SCC Document 557 Filed 02/11/22 Page 13 of 16
Case 3:21-cr-00085-SCC Document 557 Filed 02/11/22 Page 14 of 16
Case 3:21-cr-00085-SCC Document 557 Filed 02/11/22 Page 15 of 16
Case 3:21-cr-00085-SCC Document 557 Filed 02/11/22 Page 16 of 16
